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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                             AT BOWLING GREEN

                   CRIMINAL ACTION NO. 1:09CR-00005-TBR-(2)

 UNITED STATES OF AMERICA                                                       PLAINTIFF

 VS.

 MAXIE CHRISTOPHER MURRAY                                                     DEFENDANT


                         REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal

 Rules of Criminal Procedure, and has entered a plea of guilty to Counts One and Six of

 the Indictment. After cautioning and examining the Defendant under oath concerning

 each of the subjects mentioned in Rule 11, I determined that the guilty plea was

 knowledgeable and voluntary and that the offense charged is supported by an independent

 basis in fact containing each of the essential elements of such offense. I, therefore,

 recommend that the plea of GUILTY be accepted and that the Defendant be adjudged

 GUILTY and have sentence imposed accordingly.

        ENTERED this April 23, 2009
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                                          NOTICE

        Failure to file written objections to this Report and Recommendation within (10)

 days from the date of its service shall bar an aggrieved party from attacking such Report

 and Recommendation before the assigned United States District Judge.

 28 U.S.C. 636(b)(1)(B).

        Date of Service: April 23, 2009




 Copies to:    Counsel of Record
               US Marshal
               US Probation
               Ms. Kelly Harris, Case Manager




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